
Hancock, Jr., J.
(concurring). I concur with the result and *180with so much of the opinion as relates to the People’s improper introduction and use of the Grand Jury testimony of Leana Gonzalez. The People’s conduct with the respect to Karen Lawrence, however, is not a basis for the Court’s reversal. While I agree that the Assistant District Attorney’s treatment of this witness was unacceptable, I do not find that the record warrants an extended discussion of this issue.
Chief Judge Wachtler and Judges Kaye and Titone concur with Judge Bellacosa; Judge Hancock, Jr., concurs in result in a separate opinion in which Judges Simons and Alexander concur.
Order reversed, etc.
